Case 1:04-cv-10981-PBS Document 1679-15 Filed 02/23/09 Page 1 of 3




                      EXHIBIT 14
  Case 1:04-cv-10981-PBS Document 1679-15 Filed 02/23/09 Page 2 of 3

                                                                    Castro, Lucy (Pfizer) 7/10/2007 9:08:00 AM
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   1                    LUCY CASTRO                          1                  LUCY CASTRO
   2            UNITED STATES DISTRICT COURT
                                                             2    A P P E A R A N C E S:
   3           FOR THE DISTRICT OF MASSACHUSETTS
   4   ------------------------------x                       3
   5   IN RE NEURONTIN MARKETING AND                         4    FINKELSTEIN & PARTNERS
       SALES PRACTICES LITIGATION
                                                             5    Attorneys for Product Liability Plaintiffs
   6
       MDL Docket No. 1629                                   6          785 Broadway, 3rd Floor
   7   Master File No., 04-10981                             7          Kingston, NY 12401
       Judge Patti B. Saris
                                                             8          (800) 634-1212
   8   Magistrate Leo T. Sorokin
       ------------------------------x                       9    BY: KENNETH B. FROMSON, ESQ.
   9                                                         10         KEITH ALTMAN
  10
                                                             11
  11       SUPREME COURT OF THE STATE OF NEW YORK
  12           COUNTY OF NEW YORK                            12   ROBINS KAPLAN MILLER & CIRESI
  13                                                         13   Attorneys for Assurance Plaintiffs
       ------------------------x
  14                                                         14         2800 LaSalle Plaza
       IN RE: NEW YORK NEURONTIN                             15         800 La Salle Avenue
  15   PRODUCTS LIABILITY LITIGATION
                                                             16         Minneapolis, MN 55402
  16   Case Management
       Index No. 765,000/2006                                17   BY: ANNAMARIE DALEY, ESQ.
  17   Hon. Marcy S. Friedman                                18
       ------------------------x
                                                             19   COHEN & MALAD, LLP
  18
  19                                                         20   Attorneys for Class Plaintiffs
  20                                                         21         136 N. Delaware Street, Suite 300
                                    July 10, 2007
                                                             22         Post Office Box 627
  21                                9:08 a.m.
  22                                                         23         Indianapolis, Indiana 46206-0627
  23                                                         24   BY:   IRWIN B. LEVIN, ESQ.
  24
  25                                                         25         ERIC S. PAVLACK, ESQ.



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   1                    LUCY CASTRO                          1                  LUCY CASTRO
   2                                                         2    A P P E A R A N C E S (Continued):
   3            Deposition of LUCY CASTRO MANRIQUE,          3
   4    taken by Class Plaintiffs, at the offices of         4    SHOOK, HARDY & BACON, LLP
   5    Davis, Polk & Wardwell, 450 Lexington Avenue,        5    Attorneys for Pfizer
   6    New York, New York, before Brandon Rainoff, a        6          2555 Grand Blvd.
   7    Federal Certified Realtime Reporter and Notary       7          Kansas City, Missouri 64108-2613
   8    Public of the State of New York.                     8    BY:   VINCENT E. GUNTER, ESQ.
   9                                                         9          TREY ALFORD, ESQ.
  10                                                         10
  11                                                         11   JONES DAY
  12                                                         12   Attorneys for Wyeth
  13                                                         13         222 East 41st Street
  14                                                         14         New York, NY 10017-6702
  15                                                         15         (212) 326-7894
  16                                                         16   BY: JOSEPH A. STRAZZERI, ESQ.
  17                                                         17         BART GREEN
  18                                                         18
  19                                                         19
  20                                                         20
  21                                                         21
  22                                                         22
  23                                                         23
  24                                                         24
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Neurontin Pfizer Sales & Marketing Team                                                                        Page 1 - 4
  Case 1:04-cv-10981-PBS Document 1679-15 Filed 02/23/09 Page 3 of 3

                                                                     Castro, Lucy (Pfizer) 7/10/2007 9:08:00 AM
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   1                     LUCY CASTRO                            1                  LUCY CASTRO
   2   whatsoever from Pfizer to the field force or to          2      A.   In terms of promoting for general
   3   the public in any manner, way, shape or form             3    neuropathic pain?
   4   that said Neurontin is not FDA approved for              4      Q.   Yes.
   5   general neuropathic pain?                                5      A.   No.
   6     A.       I am aware of training internally but         6      Q.   Okay. So I won't see anything that
   7   nothing to the public.                                   7    would be directed to the public that mentions
   8     Q.       Thank you. So if in fact the sales of         8    anything about general neuropathic pain?
   9   Neurontin going back to the Warner Lambert-Parke         9           MR. GUNTER: Objection.
  10   Davis days were increased because of illegal             10     A.   There are pieces that have disease
  11   marketing practices, to your knowledge since you         11   state information that start with providing
  12   have been at Pfizer, there has been nothing done         12   context in terms of disease state so that PHN
  13   to specifically address those and affirmatively          13   can be understood. In general my understanding
  14   dispel the notion other than as far as you               14   from materials I haven't seen is that
  15   understand it staying within the label as you            15   neuropathic pain in general is under recognized,
  16   promote it today, is that fair?                          16   under diagnosed, and certainly the lay public
  17           MR. GUNTER: Objection as to the form             17   doesn't understand it well even to this day. So
  18   of that question.                                        18   our materials gave very brief context and
  19           MR. LEVIN: You can answer.                       19   immediately went into PHN.
  20     A.       Like I stated previously, we did not          20     Q.   So it would be your understanding then
  21   do a communication externally but we did do              21   that the primary focus of the terms that you are
  22   training. We also -- the field force was only            22   aware of would have been PHN and other
  23   allowed to detail to very specific physicians            23   neuropathic pain for context would just be a
  24   that would be neurologists and epileptologists,          24   minor part of the --
  25   and all internal training was on label, again.           25     A.   Very minor, yes.



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   1                     LUCY CASTRO                            1                  LUCY CASTRO
   2     Q.       What were the regulations that Warner         2      Q.   That would be important to you as a
   3   Lambert had with regard to detailing?                    3    regulator, as somebody involved in the
   4           MR. GUNTER: Objection, that's                    4    regulatory department, right?
   5   getting -- calls for speculation. She never              5      A.   Absolutely.
   6   worked for Warner Lambert.                               6      Q.   Why would that be important?
   7     A.       I am not aware of what their practices        7      A.   Like I said, we wanted to make sure we
   8   were.                                                    8    are on label, and in fact that type of approach
   9     Q.       You mentioned the acronym WLF. What           9    was precleared with the FDA's DDMAC division.
  10   is that?                                                 10     Q.   But let's leave the FDA out of it for
  11     A.       Washington Legal Foundation.                  11   a minute. I just want to know from your
  12     Q.       You just mentioned that your field            12   standpoint as somebody from regulatory, that
  13   force was only allowed to detail to certain type         13   would be important to you, the PHN would be the
  14   of physicians, do you recall that?                       14   focus of the piece as opposed to pain?
  15     A.       Yes.                                          15     A.   Absolutely.
  16     Q.       What type of physicians?                      16     Q.   As a person involved in regulatory, if
  17     A.       Neurologists, epileptologists.                17   somebody were to come to you and say here is a
  18     Q.       To your knowledge, then, Pfizer never         18   piece and it was primarily about pain and only a
  19   marketed Neurontin to primary care physicians,           19   little bit about PHN, what would you tell them?
  20   is that correct?                                         20     A.   That we couldn't approve that.
  21     A.       We did, once we got the PHN                   21     Q.   Why?
  22   indication.                                              22     A.   Because the focus has to be on label
  23     Q.       Once you marketed for PHN, you never          23   PHN.
  24   mentioned general neuropathic pain in any way,           24     Q.   Why does the focus have to be on PHN?
  25   correct?                                                 25     A.   Because that's the indication




Neurontin Pfizer Sales & Marketing Team                                                                              Page 45 - 48
